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                                 EXHIBIT C

       INDEX OF ALL DOCUMENTS FILED IN STATE COURT ACTION

      EXHIBIT        DATE FILED                  DOCUMENT TITLE
C-1                                   STATE COURT DOCKET SHEET
C-2                8/31/2017          PLAINTIFF'S ORIGINAL PETITION
C-3                10/27/2017         Request for citations
C-4                10/30/2017         CITATION ISSUED - GREAT LAKES
                                      REINSURANCE (U.K.) PLC
C-5                10/30/2017         CITATION ISSUED - MARK
                                      VANDERKEIFT
C-6                11/13/2017         ANSWER - GREAT LAKES INSURANCE
                                      SE
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                                                       REGISTER OF ACTIONS
                                                            CASE NO. 2017DCV3011

Rafael Rodriguez vs GREAT LAKES REINSURANCE (UK) PLC AND MARK §                                       Contract -
                                                                                          Case Type:
VANDEKIEFT                                                    §                                       Consumer/Commercial/Debt
                                                              §                           Date Filed: 08/31/2017
                                                              §                            Location: 210th District Court
                                                              §


                                                               PARTY INFORMATION

                                                                                                         Lead Attorneys
Defendant      GREAT LAKES REINSURANCE (UK) PLC


Defendant      Vandekieft, Mark


Plaintiff      Rodriguez, Rafael                                                                         J. Michael Moore
                                                                                                          Retained
                                                                                                         956-631-0745(W)


                                                          EVENTS & ORDERS OF THE COURT

             OTHER EVENTS AND HEARINGS
08/31/2017   Original Petition (OCA)      Doc ID# 1
08/31/2017   E-File Event Original Filing
10/27/2017   Request      Doc ID# 2
10/30/2017   Citation
                GREAT LAKES REINSURANCE (UK) PLC                  Unserved
                Vandekieft, Mark                                  Unserved
11/13/2017   Answer      Doc ID# 3




https://casesearch.epcounty.com/PublicAccess/CaseDetail.aspx?CaseID=7881333                                           11/13/2017

                                                                                          EXHIBIT C-1
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El Paso County - 210th District Court                                                                    Filed 8/31/2017 11:14 AM
                                                                                                                  Norma Favela Barceleau
                                                                                                                             District Clerk
                                                                                                                          El Paso County
                                                                                                                           2017DCV3011
                                                      CAUSE NO. __________________

                  RAFAEL RODRIGUEZ                                          §         IN THE COUNTY COURT
                      Plaintiff,                                            §
                                                                            §
                  VS.                                                       §         EL PASO COUNTY, TEXAS
                                                                            §
                  GREAT LAKES REINSURANCE                                   §
                  (UK) PLC AND MARK                                         §
                  VANDEKIEFT,
                        Defendant.                                                    AT LAW NO. _____

                        PLAINTIFF’S ORIGINAL PETITION AND FIRST SET OF DISCOVERY
                                                REQUESTS

                  TO THE HONORABLE JUDGE AND JURY OF SAID COURT:

                            COMES NOW, RAFAEL RODRIGUEZ (herein individually or collectively

                  “Plaintiff”), and files this Plaintiff’s Original Petition and First Set Of Discovery

                  Requests complaining of Defendants GREAT LAKES REINSURANCE (UK) PLC,

                  (herein “Defendant Insurance Company”) and MARK VANDEKIEFT (herein

                  “Defendant Adjuster”) (sometimes referred herein collectively as “Defendants”), and for

                  cause of action shows the Court the following:

                                                    I. DISCOVERY CONTROL PLAN

                            1.1        Plaintiff shall conduct discovery pursuant to Level I of Texas Rule of

                  Civil Procedure, Rule 190.2 and damages sought are pursuant to Rule 47(c)(2), and filed

                  concurrent with this action, Plaintiff have filed with the Court their Stipulation of

                  Damages not to exceed $74,999.99.

                                                                     II. PARTIES

                            1.1       Plaintiff, RAFAEL RODRIGUEZ, is an individual who resides in El Paso

                  County, Texas.




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          2.2       Defendant GREAT LAKES REINSURANCE (UK) PLC (“Defendant

Insurance Company”) is a domestic insurance company incorporated in the State of

Texas, organized under the laws of the State of Texas, and engaged in the business of

insurance in the State of Texas. Service of process is requested to be effectuated by

certified mail on said Defendant by delivering the Citation and a copy of the

Original Petition to said Defendant and/or Defendant’s registered agent at C/O

Drinker Biddle, 1177 Avenue Of The Americas Fl 41, New York NY 10036-2714.

The court’s clerk is requested to issue the Citation and Original Petition by certified

mail.

          2.3       Defendant Mark Vandekieft (“Defendant Adjuster”) is a resident of

Hidalgo El Paso County, Texas, who participated in adjusting Plaintiff’s property

insurance claim. Service of process is requested to be affected by private process

server on said Defendant by delivering the Citation and a copy of the Original

Petition to said Defendant at 325 Plainview Dr., Hurst, Texas 76054. The court’s

clerk is requested to issue the Citation and Original Petition by certified mail.


                       III. JURISDICTION & RULE 47(c) STATEMENT

          3.1       This Court has jurisdiction over this cause of action because the amount in

controversy is within the jurisdictional limits of the Court. The Plaintiff listed herein

separately and affirmatively states that said Plaintiff will only seek monetary relief for

their claims presented herein in an amount not to exceed $74,999.99 as per the

Stipulation of Damages filed concurrently with this action, for which said sum includes

any and all items of damages, interest, penalties, statutory trebling, attorney fees and/or

costs.


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          3.2       This Court has jurisdiction over Defendant Insurance Company because

this Defendant is an insurance company incorporated in the State of Texas, which

engages in the business of insurance in the State of Texas, and Plaintiff’s causes of action

arise out of this Defendant’s business activities in the State of Texas.

          3.3       The Court has jurisdiction over Defendant Adjuster because Defendant

Adjuster is a resident of the State of Texas who engages in the business of adjusting

insurance claims in the State of Texas as a property and casualty insurance adjuster

licensed by the Texas Department of Insurance and Plaintiff’s causes of action arise out

of the Defendant’s business activities in the State of Texas.

          3.4       Plaintiff are not making any claims for relief under federal law.

                                                    IV. VENUE

          4.1       Venue is proper in El Paso County, Texas, because the insured property,

subject to this suit, is situated in El Paso County, Texas. TEX.CIV.PRAC. & REM.

CODE §15.032.

                                                     V. FACTS

          5.1.      Plaintiff purchased a policy from Defendant Insurance Company, insuring

Plaintiff’s property against certain losses. The Policy number was GP15310740561

(hereinafter referred to as “the Policy”)

          5.2       Plaintiff owns the insured property, which is located at 116 Ensenada Way

Socorro, TX 79927 (hereinafter referred to as “the Property”).

          5.3.      On or about October 6, 2015, a hail/wind storm passed through El Paso

County and caused extensive damage to the insured property (the “hail/wind storm

event”). Shortly thereafter, Plaintiff made a claim and demand for payment on Defendant



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Insurance Company for damages to the Property and other damages covered by the terms

of the Policy (the “Claim”). The subject claim number is MDC40964.

          5.4       Subsequent to Plaintiff making the Claim, Defendant Insurance Company

assigned a local Texas Adjuster, to adjust the claim (“The Adjuster”). The adjuster failed

to adequately adjust Plaintiff’s claim.

          5.5       After having the damages reevaluated by a qualified Adjuster, Plaintiff

sent Defendant a demand for payment of the claim. In response, Defendant Insurance

Company has failed to tender adequate payment to which Plaintiff is entitled.

          5.6       Plaintiff requested that Defendant Insurance Company cover the cost of

repairs to the Property pursuant to the Policy, including but not limited to, repair and/or

replacement of the damaged structures and contents located on or around the exterior of

the property as well as those within the interior, pursuant to the Policy.

          5.7       Defendant Insurance Company has wrongfully delayed and denied

payment of the balance due to Plaintiff for the Claim. Based upon information and belief,

and as a basis for this delay and denial, Defendant Insurance Company has relied upon an

inadequate and under-scoped adjustment which claims that the cost of repair for damages

to Plaintiff’s property were substantially less than the actual cost of repairs.

          5.8       Pleading in the alternative, Plaintiff’s actual covered damage and losses to

the Property as a result of the hail/wind storm and other covered losses, including the

costs of temporary repairs and alternative living expenses, have caused other

consequential damages to be sustained by Plaintiff herein. Defendant Insurance Company

is liable for these consequential damages due to its failure to promptly and sufficiently

pay the claim.



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          5.9       Pleading in the alternative and based upon information and belief, the

Adjuster was compensated for each claim the Adjuster adjusted on behalf of Defendant

Insurance Company and/or other combination of compensation tied to the quantity of

claims adjusted. As part of this believed agreement, the Adjuster under-scoped the value

of the damages to the Property on behalf of Defendant Insurance Company.               The

Adjuster was therefore motivated to conduct an inadequate and substandard claim

investigation of Plaintiff’s hail/wind storm damage property claim in order to increase the

number of claims the Adjuster adjusted for his personal pecuniary benefit, as indicated

below in sub-paragraphs (a) thru (g). The Adjuster was negligent in violating Defendant

Insurance Company’s written policies as they relate to claims handling practices by

failing to fully investigate and document all damage to the Property and by failing to

fully investigate and evaluate the Plaintiff’s insured losses based upon local replacement

and/or repair costs for each item of damage, as indicated below in sub-paragraphs (a) thru

(g). Additionally, based upon information and belief and the acts and the practices the

Adjuster actually employed, the Adjuster held a personal bias in favor of Defendant

Insurance Company and prejudicially against insurance claimants generally, and more

specifically towards Plaintiff herein as specifically demonstrated below in sub-paragraphs

(a) thru (b). The Adjuster, on behalf of Defendant Insurance Company, intentionally,

knowingly and fraudulently, with malice, engaged in the following specified acts and

practices, among others stated herein, in violation of and in breach of the adjuster’s

moral, ethical and legal duties to Plaintiff as a licensed claims adjuster, which was a

producing and proximate cause of the damages and losses sustained herein by Plaintiff

resulting in the denial and/or underpayment of Plaintiff’s claim; to wit:



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          a)        The Adjuster failed to properly investigate and inspect the Property during

repair of the property which would have revealed other covered hail/wind storm damage

property losses;

          b)        The Adjuster failed to and/or refused to properly interview Plaintiff to

ascertain other damages that were not readily apparent or would not be readily apparent

to an individual unfamiliar with the property’s pre-loss condition;

          c)        The Adjuster refused to and did not inspect for hidden or latent damage

resulting to Plaintiff’s Property that is customarily found to exist in Property that has

undergone hail/wind storm damage of the severity that Plaintiff’s Property sustained;

          d)        The Adjuster failed and refused to include the usual and customary

charges for costs of materials, supplies, labor and contractor’s overhead and profit

charged by local contractors for the repair, replacement and restoration of the Plaintiff’s

Property due to the hail/wind storm damage;

          e)        The Adjuster performed only a cursory inspection of the exterior and

interior of the insured Property, spending insufficient time at the Property to properly

assess all items of damage; and failed to properly assess, estimate and include covered

damage to the property in the report and adjustment of loss to Defendant Insurance

Company for the hail/wind storm damages and/or note other damages existing to the

Property at the time of inspection such as plumbing, appliances, ceilings and walls that

sustained damage as a result of the hail/wind storm event;

          f)        Pleading in the alternative, the Adjuster, during the investigation of the

Plaintiff’s claim, made coverage decisions, which the Adjuster was not qualified and/or

authorized to perform, by failing to include all damages sustained to the Property, thus



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submitting an inaccurate and false report of Plaintiff’s covered hail/wind storm claim and

its losses to Defendant Insurance Company;

          g)        Defendant Insurance Company fraudulently represented to Plaintiff

verbally and by conduct, insisted that the majority of the damages to the Property were

not related to the hail/wind storm event made basis of this suit; and that most, if not all, of

the covered damages found to exist upon observation of Plaintiff property, were not

covered by the Policy, but were due to normal wear and tear or the result of other causes,

when in fact such damage was related and should have been included in the Adjuster‘s

reports to Defendant Insurance Company. Based upon information and belief, Defendant

Insurance Company’s acts and omissions as they pertain to the mishandling of Plaintiff’s

claim were largely dependent and proximately caused by its reliance on the

report/adjustment produced by the Adjuster, whom it knew, or reasonably should have

known, was biased and hence, under-scoped the damages.

          5.10      Based upon information and belief, Defendant Insurance Company failed

to thoroughly review the fraudulent and inaccurate assessment of the Claim as produced

by the Adjuster and ultimately approved the Adjuster’s inaccurate reports of the damages

to the Property.

          5.11      The mishandling of Plaintiff’s claim has also caused a delay and hardship

in the ability to fully repair the Property, which has resulted in additional damages in

terms of the loss of use of the Plaintiff’s Property and mental anguish as a result thereof.

To date, Plaintiff has yet to receive the full payment to which Plaintiff is entitled under

the Policy.

          5.12      In the alternative, without waiving the foregoing, and based upon



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information and belief, Defendant Insurance Company instructed the Adjuster to follow

their claims processing guidelines of in connection with the claims handling process for

Plaintiff’s claim.           Defendant Insurance Company was responsible for training,

overseeing, and supervising its claim representatives and adjusters handling claims like

Plaintiff’s claim. Defendant Insurance Company was responsible for – and had a legal

duty – to hire and retain competent, qualified and ethical licensed adjusters and claims

representatives who would deal fairly, honestly and in good faith with its policy holders

in the practice of insurance claims handling. Defendant Insurance Company breached

such duties in connection with the Claim by failing to properly train, direct and oversee

the claims handling practices employed by the Adjuster.

          5.13      At all times material herein, Defendant Insurance Company had a non-

delegable contractual legal duty to timely, fairly and in good faith investigate, process,

adjust, timely pay, and re-adjust claims for all covered losses sustained by its policy

holders – specifically Plaintiff. Defendant Insurance Company represented that it would

do so in advertising mediums throughout the State of Texas and specifically in writing to

its policy holders as an inducement for them to purchase and continue to renew

homeowners and property insurance policies.                         Due to a lack of knowledge and

understanding of the insurance claims handling process, knowledge of construction costs

and insurance policy coverage issues relating to property losses, Plaintiff relied on such

misrepresentations to Plaintiff’s detriment, and hence (1.) purchased the Policy from

Defendant Insurance Company, and (2.) accepted the estimate of damages from

Defendant Adjuster which, unknown to Plaintiff, included denial and underpayment of

covered losses and damages sustained.                       Defendant Insurance Company made such



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representations knowing they were false and with the intent that Plaintiff rely on such

representations.

          5.14      Based upon information and belief, Defendant Insurance Company,

having breached its legal duty to timely, fairly and in good faith investigate, process,

adjust and pay for all covered losses sustained by Plaintiff herein by assigning the

Adjuster to adjust and handle Plaintiff’s claim, is responsible for the acts of omission and

commission set forth herein and above in connection with the Adjuster’s investigation

and claims handling practices employed to deny and/or underpay the covered losses and

damages sustained by Plaintiff as set forth herein.

          5.15      Based upon information and belief, Defendant Insurance Company

distributed training, educational, and instructional materials to its field claim

representatives and adjusters such as the Adjuster and held meetings and issued directives

to the field instructing how Defendant Insurance Company wanted claims like Plaintiff’s

to be handled. Defendant Insurance Company, through directives to its adjusters like the

Adjuster, tasked those adjusters assigned to Plaintiff’s claim with handling such losses in

line with Defendant Insurance Company’s policy and procedures. Defendant Insurance

Company communicated and disseminated claims handling practices and methodologies

to its field adjusters such as Defendant Adjuster of 1) “Quantity over Quality”, 2)

Minimization of damage estimates, 3) Under-valuation of reported replacement and/or

repair estimates, and 4) Omission of probable covered damages in reports of losses to the

Property. These policies served to fuel and motivate the Adjuster’s individual pre-

disposition of bias in favor of insurance companies and prejudice towards claimants and

the resulting losses sustained by Plaintiff as set forth herein.



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          5.16      Defendant Insurance Company failed to perform its contractual duties to

adequately compensate Plaintiff under the terms of the Policy. Specifically, it refused to

pay the full proceeds of the Policy, although due demand was made for proceeds to be

paid in an amount sufficient to cover the damaged property, and all conditions precedent

to recovery upon the Policy had been carried out and accomplished by Plaintiff.

Defendant Insurance Company’s conduct constitutes a breach of the insurance contract

between Defendant Insurance Company and Plaintiff.

          5.17      From and after the time Plaintiff’s claim was presented to Defendant

Insurance Company, the liability of Defendant Insurance Company to pay the full claim

in accordance with the terms of the Policy was reasonably clear. However, Defendant

Insurance Company has refused to pay Plaintiff in full, despite there being no basis

whatsoever on which a reasonable insurance company would have relied to deny the full

payment. Defendant Insurance Company’s conduct constitutes a breach of the common

law duty of good faith and fair dealing.

          5.18      Pleading in the alternative, Defendant knowingly or recklessly made false

representations, as described above, as to material facts and/or knowingly concealed all

or part of material information from Plaintiff.

          5.19      As a result of Defendant’s wrongful acts and omissions, Plaintiff was

forced to retain the professional services of the attorneys who are representing Plaintiff

with respect to these causes of action.

          5.20      Based upon information and belief, Plaintiff’s experience is not an isolated

case. The acts and omissions of Defendant Insurance Company committed in this case,

or similar acts and omissions, occur with such frequency that they constitute a general



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business practice of Defendant Insurance Company with regard to the handling of these

types of claims. Defendant Insurance Company’s entire process is unfairly designed to

reach favorable outcomes for the company at the expense of the policyholders.

  VI. CAUSE OF ACTION AGAINST DEFENDANT INSURANCE COMPANY –
         NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE


           6.1      Plaintiff repleads all of the material allegations above set forth in

Paragraphs 1.1-5.20 and incorporate the same herein by this reference as if here set forth

in full.

           6.2      Defendant misrepresented to Plaintiff that the damage to the Property was

not covered under the Policy, even though the damage was caused by a covered

occurrence. Defendant’s conduct constitutes a violation of the Texas Insurance Code,

Unfair Settlement Practices. TEX. INS. CODE §§541.060(a)(1).

           6.3      Defendant failed to make an attempt to settle Plaintiff’s claim in a fair

manner, although it was aware of its liability to Plaintiff under the Policy. Defendant’s

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.

TEX. INS. CODE §541.060(a)(2)(A).

           6.4      Defendant failed to explain to Plaintiff the reasons for an inadequate

settlement. Furthermore, Defendant did not communicate that any future settlements of

payments would be forthcoming to pay for the entire losses covered under the Policy, nor

did it provide any explanation for the failure to adequately settle Plaintiff’s claim.

Defendant’s conduct is a violation of the Texas Insurance Code, Unfair Settlement

Practices, TEX. INS. CODE §541.060(a)(3).

           6.5      Defendant failed to affirm or deny coverage of Plaintiff’s claim within a



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reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or

rejection, regarding the full and entire claim, in writing from Defendant. Defendant’s

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.

TEX. INS. CODE §541.060(a)(4).

          6.6       Defendant Insurance Company refused to fully compensate Plaintiff,

under the terms of the Policy, even though Defendant failed to conduct a reasonable

investigation. Defendant’s conduct constitutes a violation of the Texas Insurance Code,

Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(7).

          6.7       Defendant Insurance Company failed to meet its obligations under the

Texas Insurance Code regarding timely acknowledging Plaintiff’s claim, beginning an

investigation of Plaintiff’s claim, and requesting all information reasonably necessary to

investigate Plaintiff’s claim, within the statutorily mandated time of receiving notice of

Plaintiff’s claim. Defendant’s conduct constitutes a violation of the Texas Insurance

Code, Prompt Payment of Claims. TEX. INS. CODE §542.055.

          6.8       Defendant Insurance Company failed to accept or deny Plaintiff’s full and

entire claim within the statutorily mandated time of receiving all necessary information.

Defendant’s conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims. TEX. INS. CODE §542.056.

          6.9       Defendant Insurance Company failed to meet its obligations under the

Texas Insurance Code regarding payment of claim without delay. Specifically, it has

delayed full payment of Plaintiff’s claim longer than allowed and, to date Plaintiff has not

received full payment for the claim. Defendant’s conduct constitutes a violation of the

Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.058.



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 VII. CAUSE OF ACTION AGAINST DEFENDANT INSURANCE COMPANY –
                             FRAUD

          7.1       Plaintiff repleads all of the material allegations above set forth in

Paragraphs 1.1-6.9 and incorporate the same herein by this reference as if here set forth in

full.

          7.2       Defendant is liable to Plaintiff for common law fraud.

          7.3       Defendant Insurance Company represented in its policy that damages

resulting from a hail/wind storm would be insured against loss. Plaintiff, to its detriment,

purchased Defendant Insurance Company’s policy in exchange for a benefit Defendant

Insurance Company knew the Plaintiff would not receive. Plaintiff further relied to its

detriment upon the false, fraudulent, and deceptive acts and practices employed by

Defendant, in performing an inspection, investigation and evaluation of Plaintiff’s claim.

Plaintiff was not knowledgeable in the manner and scope required to investigate such a

loss, nor knowledgeable in insurance loss coverage issues and were not aware of the

deceptive, fraudulent practices which required that they hire an independent Adjuster

after the delays and failure to provide the promises adjusting services were discovered.

Defendant, based upon its experience, special knowledge of hail/wind storm structural

loss issues and insurance coverage issues were able to deceive Plaintiff into believing that

the property damage loss would be competently investigated by a qualified, ethical and

experienced Adjuster and that the loss would be properly, fairly and in good faith

evaluated and assessed and the claim paid.

          7.4       Plaintiff was unaware that all such representations and conduct relating to

the investigation and handling of the claim were performed with the intent and purpose to

defraud, take advantage of and deny and/or undervalue the property losses sustained by


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Plaintiff. Plaintiff relied to its detriment on such actions and representations resulting in

the losses and damages complained of herein. Plaintiff sought the assistance of its public

Adjuster in order to mitigate its losses and begin repair of the property so that the

Property could be restored to a habitable condition which has caused further damage and

expense. This undue expense and delay was solely incurred due to the acts of Defendant

in failing to perform the duties what it was required to perform Texas Insurance Code and

the contract of insurance.

          7.5       The conduct of Defendant has prolonged Plaintiff’s hardship of restoring

the damaged home and increased the expense of relocation and alternative living

arrangements. Defendant knew at the time the misrepresentations and fraudulent conduct

occurred (as described above) that the representations contained in the estimate of loss

were untrue and communicated those representations to Plaintiff which were false. Each

and every one of the representations and deceptive acts and practices, as described above,

and those stated in this paragraph, concerned representations and falsehoods relating to

material facts for the reason that absent such representations, Plaintiff would not have

acted as Plaintiff did, and which Defendant knew were false or made recklessly without

any knowledge of their truth as a positive assertion.

          7.6       Defendant made statements and performed actions with the intention to

manipulate Plaintiff to act as Plaintiff did, thereby causing Plaintiff to suffer injury and

constituting common law fraud.

 VIII. CAUSE OF ACTION AGAINST DEFENDANT INSURANCE COMPANY –
                  CONSPIRACY TO COMMIT FRAUD

          8.1       Plaintiff repleads all of the material allegations above set forth in

Paragraphs 1.1-7.6 and incorporate the same herein by this reference as if here set forth in


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full.

          8.2       Defendant is liable to Plaintiff for conspiracy to commit fraud. Defendant,

through its relationships with adjusters, and/or third party claims adjusting firms, was a

member of a combination of two or more persons whose object was to accomplish an

unlawful purpose or a lawful purpose by unlawful means. In reaching a meeting of the

minds regarding the course of action to be taken against Plaintiff, Defendant committed

an unlawful, overt act to further the object or course of action. Plaintiff suffered injury as

a proximate result. Plaintiff does not seek damages from conspirators other than

Defendant Insurance Company, but reserves the right to amend this pleading.

 IX. CAUSES OF ACTION AGAINST DEFENDANT INSURANCE COMPANY –
   BREACH OF CONTRACT/DUTY OF GOOD FAITH AND FAIR DEALING

          9.1       Plaintiff replead all of the material allegations above set forth in

Paragraphs 1.1-8.2 and incorporate the same herein by this reference as if here set forth in

full.

          9.2       Defendant Insurance Company is liable to Plaintiff for intentional breach

of contract, and intentional breach of the common law duty of good faith and fair dealing.

          9.3       Defendant Insurance Company’s conduct constitutes a breach of the

insurance contract made between Defendant Insurance Company and Plaintiff.

          9.4       Defendant Insurance Company’s failure and/or refusal, as described

above, to pay the adequate and just compensation as it is obligated to do under the terms

of the Policy in question, and under the laws of the State of Texas, constitutes a breach of

Defendant Insurance Company’s insurance contract with Plaintiff.

          9.5       Defendant Insurance Company’s failure, as described above, to adequately

and reasonably investigate and evaluate Plaintiff’s claim, although, at that time,


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Defendant Insurance Company knew or should have known by the exercise of reasonable

diligence that its liability was reasonably clear, constitutes a breach of the duty of good

faith and fair dealing.

                            X. CAUSE OF ACTION:
               CAUSES OF ACTION AGAINST DEFENDANT ADJUSTER
                NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                       UNFAIR SETTLEMENT PRACTICES

          10.1      Plaintiffs replead all of the material allegations above set forth in above

paragraphs and incorporate the same herein by this reference as if here set forth in full.

          10.2      Defendant Insurance Company assigned Defendant Adjuster to adjust the

claim. Defendant Adjuster was inadequately and improperly trained to handle claims of

this nature and performed an unreasonable investigation of Plaintiffs’ damages. During

the investigation, Defendant Adjuster failed to properly assess Plaintiffs’ damages and

omitted properly covered damages from Defendant Adjuster’s reports and/or estimates of

the damages, including many of Plaintiffs’ interior damages, and such report was relied

on by the other parties to this action. In addition, the damages that Defendant Adjuster

did include in their estimates and reports were grossly undervalued and underestimated.

As a result, Plaintiffs was considerably underpaid for Plaintiffs’ claim and has suffered

damages.

          10.3      Defendant Adjuster’s conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices.                        TEX. INS. CODE §541.060(a).   All

violations under this article are made actionable by TEX. INS. CODE §541.151.

          10.4      Defendant Adjuster is individually liable for Defendant Adjuster’s unfair

and deceptive acts, despite the fact Defendant Adjuster was acting on behalf of Defendant

Insurance Company, because Defendant Adjuster is a “person” as defined by TEX. INS.


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CODE §541.002(2).              The term “person” is defined as “any individual, corporation,

association, partnership, reciprocal or inter insurance exchange, Lloyd’s plan, fraternal

benefit society, or other legal entity engaged in the business of insurance, including an

agent, broker, Defendant Adjuster or life and health insurance counselor.” TEX. INS.

CODE §541.002(2) (emphasis added). (See also Universal Insurance Co. v. Garrison

Contractors, Inc., 966 S.W.2d 482, 484 (Tex. 1998) (holding an insurance company

employee to be a “person” for the purpose of bringing a cause of action against him or

her under the Texas Insurance Code and subjecting him or her to individual liability).

          10.5      Falsehoods and misrepresentations may be communicated by actions as

well as by the spoken word; therefore, deceptive conduct is equivalent to a verbal

representation. Defendant Adjuster’s misrepresentations by means of deceptive conduct

include, but are not limited to: (1) failing to conduct a reasonable inspection and

investigation of Plaintiffs’ damages; (2) stating that Plaintiffs’ damages were less severe

than they in fact were; (3) using their own statements about the non-severity of the

damage as a basis for denying properly covered damages and/or underpaying damages;

and (4) failing to provide an adequate explanation for the inadequate compensation

Plaintiffs received. Defendant Adjuster’s unfair settlement practices, as described above,

of misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance. TEX. INS. CODE §541.060(a)(1).

          10.6      Defendant Adjuster failed to explain to Plaintiffs the reasons for

Defendants’ offer of an inadequate settlement. Specifically, Defendant Adjuster failed to

offer Plaintiffs adequate compensation without any explanation as to why full payment



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was not being made. Furthermore, Defendants did not communicate that any future

settlements or payments would be forthcoming to pay for the entire losses covered under

the Policy, nor did they provide any explanation for the failure to adequately settle

Plaintiffs’ claim. The unfair settlement practice of Defendant Adjuster as described

above, of failing to promptly provide Plaintiffs with a reasonable explanation of the basis

in the Policy, in relation to the facts or applicable law, for the offer of a compromise

settlement of Plaintiffs’ claim, constitutes an unfair method of competition and an unfair

and deceptive act or practice in the business of insurance. TEX. INS. CODE

§541.060(a)(3).

          10.7      Defendant Adjuster’s unfair settlement practice, as described above, of

failing within a reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to

submit a reservation of rights to Plaintiffs, constitutes an unfair method of competition

and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE §541.060(a)(4).

          10.8      Defendant Adjuster did not properly inspect the Property and failed to

account for and/or undervalued many of Plaintiffs’ exterior and interior damages,

although reported by Plaintiffs to Defendant Insurance Company. Defendant Adjuster’s

unfair settlement practice, as described above, of refusing to pay Plaintiffs’ claim without

conducting a reasonable investigation, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

§541.060(a)(7).

             XI. CAUSES OF ACTION AGAINST DEFENDANT ADJUSTER
                NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                       UNFAIR SETTLEMENT PRACTICES



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          11.1      Plaintiffs replead all of the material allegations above set forth in

Paragraphs 1-49 and incorporate the same herein by this reference as if here set forth in

full.

          11.2      Defendant Adjuster’s conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices.                        TEX. INS. CODE §541.060(a).   All

violations under this article are made actionable by TEX. INS. CODE §541.151.

          11.3      Defendant Adjuster’ unfair settlement practice, as described above, of

misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business

of insurance. TEX. INS. CODE §541.060(a)(1).

          11.4      Defendants’ unfair settlement practice, as described above, of failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

even though liability under the Policy was reasonably clear, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE §541.060(a)(2)(A).

          11.5      Defendant Adjuster’s unfair settlement practice, as described above, of

failing to promptly provide Plaintiffs with a reasonable explanation of the basis in the

Policy, in relation to the facts or applicable law, for its offer of a compromise settlement

of the claim, constitutes an unfair method of competition and an unfair and deceptive act

or practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

          11.6      Defendant Adjuster’s unfair settlement practice, as described above, of

failing within a reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to

submit a reservation of rights to Plaintiffs, constitutes an unfair method of competition



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and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE §541.060(a)(4).

          11.7      Defendant Adjuster’s unfair settlement practice, as described above, of

refusing to pay Plaintiffs’ claim without conducting a reasonable investigation,

constitutes an unfair method of competition and an unfair and deceptive act or practice in

the business of insurance. TEX. INS. CODE §541.060(A)(7).

  XII.      RESPONSIBILITY FOR ACTS OF AGENTS AND RATIFICATION OF
                                  ACTS

          12.1      Defendant Adjuster, whose conduct is referenced herein and above, was

acting as an agent of Defendant Insurance Company at all material times made the basis

of Plaintiffs’ Claims and such acts of commission and omission in the handling of

Plaintiffs’ claim, including inspections, adjustments, and aiding in the adjustment of the

loss were committed for or on behalf of Defendant Insurance Company, the insurer.

TEX.INS.CODE §4001.051.

          12.2      Separately, and/or in the alternative, as referenced and described above,

Defendant Insurance Company ratified the actions and conduct of Defendant Adjuster

including the manner in which they discharged or failed to properly discharge their duties

under the common law and applicable statutory laws and regulations.

                                             XIII. KNOWLEDGE

          13.1      Each of the acts described above, together and singularly, was done

“knowingly,” as that term is used in the Texas Insurance Code, and was a producing

cause of Plaintiff’s damages described herein.

                                                XIV. DAMAGES

          14.1      Plaintiff would show that all of the aforementioned acts, taken together or


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singularly, constitute the producing causes of the damages sustained by Plaintiff.

          14.2      As previously stated, the damages caused by the hail/wind storm event

were not fully paid by Defendant Insurance Company and have not been properly

addressed in the time since the covered loss event, causing further damages to Plaintiff

financially in terms of paying for covered losses when such obligation was that of

Defendant Insurance Company, which has caused undue hardship and burden to Plaintiff.

These damages are a direct result of Defendant’s mishandling of Plaintiff’s claim in

violation of the laws set forth above.

          14.3      For breach of contract, Plaintiff is entitled to regain the benefit of

Plaintiff’s bargain, which is the amount of Plaintiff’s claim losses and expenses, together

with attorney’s fees.

          14.4      For noncompliance with the Texas Insurance Code, Unfair Settlement

Practices, Plaintiff is entitled to actual damages, which include the loss of the benefits

that should have been paid pursuant to the policy, mental anguish, court costs, and

attorney’s fees. For knowing conduct of the acts described above, Plaintiff asks for three

times Plaintiff’s actual damages. TEX. INS. CODE §541.152.

          14.5      For noncompliance with the Texas Insurance Code, Prompt Payment of

Claims, Plaintiff is entitled to the amount of Plaintiff’s claim, as well as eighteen (18)

percent interest per annum on the amount of such claim as damages, together with

attorney’s fees. TEX. INS. CODE §542.060.

          14.6      For breach of the common law duty of good faith and fair dealing,

Plaintiff is entitled to compensatory damages, including all forms of loss resulting from

Defendant Insurance Company’s breach of duty, such as additional costs, economic



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hardship, losses due to nonpayment of the amount the insurer owed, exemplary damages,

and damages for emotional distress.

          14.7      For fraud, Plaintiff is entitled to recover actual damages and exemplary

damages for knowingly fraudulent and malicious representations, along with attorney’s

fees, interest, and court costs.

          14.8      For the prosecution and collection of this claim, Plaintiff has been

compelled to engage the services of the attorney whose name is subscribed to this

pleading.        Therefore, Plaintiff is entitled to recover a sum for the reasonable and

necessary services of Plaintiff’s attorney in the preparation and trial of this action,

including any appeals to the Court of Appeals and/or the Supreme Court of Texas.

                                   XV. RESERVATION OF RIGHTS

          15.1      Plaintiff reserves the right to prove the amount of damages at trial.

Plaintiff reserves the right to amend this petition to add additional counts upon further

discovery as the investigation continues.

                                   XVI. CONDITIONS PRECEDENT

          16.1      Pursuant to Rule 54 of the Texas Rules of Civil Procedure, all conditions

precedent to Plaintiff’s right to recover herein have been performed or have occurred.

                                           XVII. JURY DEMAND

          17.1      Plaintiff hereby requests that all causes of action alleged herein be tried

before a jury consisting of citizens residing in El Paso County, Texas. Plaintiff hereby

tenders the appropriate jury fee.

                 XVIII. REQUESTS FOR DISCLOSURE TO DEFENDANT

          18.1      Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that



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Defendant Insurance Company and Defendant Adjuster disclose within fifty days (50) of

service of this request, the information or materials described in Rule 194.2 of the Texas

Rules of Civil Procedure.

               XIX. PLAINTIFF’S FIRST SET OF WRITTEN DISCOVERY
                 INSTRUCTIONS FOR REQUESTS FOR PRODUCTION

          19.1      Pursuant to the provisions of Rule 196 of the Texas Rules of Civil

Procedure, you are hereby requested to produce the below designated “documents” which

shall include, but are not limited to, papers, books, accounts, writings, drawings, graphs,

charts, photographs, emails, electronic data, meta data or any other form of recordings

and other data compilations from which information can be obtained, translated, or

reproduced, if necessary by you, your agents or attorneys, through appropriate devices

into reasonably usable form, and to produce the below designated tangible things which

constitute or contain matters which are in the possession, custody or control of you, your

agents, servants or attorneys, for inspection, sampling, testing, photographing and/or

copying on the first business day after the expiration of fifty (50) days after service of

these Requests for Production, at 4900 North 10th Street, Suite F3, McAllen, Texas

78504 pursuant to Rule 196.2(a) Tex.R.Civ.Proc. You are advised that pursuant to Rule

196, you must make a written response that shall state with respect to each item or

category of items that inspection will be permitted as requested and that you will comply

with this Request, except to the extent that objections are made, stating specific reasons

why such discovery will not be allowed.

                               INSTRUCTIONS AND DEFINITIONS

          19.2      In answering the following interrogatories and responding to the

following Requests for Production, furnish all information and items available to you,


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including information or items in the possession of your attorneys, or their

investigators, and all persons acting in your behalf and not merely such information

known of your own personal knowledge. If you cannot answer an Interrogatory or

respond to a Request for production in full after exercising due diligence to secure the

information or item requested, so state in your answer or response and to the extent

possible answer or respond stating whatever information or knowledge you have.

          19.3      The INTERROGATORIES and REQUESTS FOR PRODUCTION OF

DOCUMENTS which follow are to be considered as continuing, and you are

requested to provide by way of supplemental answers and responses hereto such

additional information as you or any other person acting on your behalf may hereafter

obtain which will augment or otherwise modify your answers given to these

Interrogatories and Requests for Production of Documents below. Such supplemental

responses are to be filed and served upon this party immediately upon receipt of such

information.

As used herein, the following terms shall have the meaning indicated below:
          "
a.            Person(s)"     means        natural       persons,    corporation,   partnerships,    sole

          proprietorships, unions, associations, federations, reciprocal or inter-insurance

          exchange, Lloyd’s plan, Adjuster, contractor/estimator, engineer, independent

          contractor or any other kind of entity.
          "
b.            Document" means any printed, typewritten, hand written, electronically stored

          information in its native format, mechanically or otherwise recorded matter of

          whatever character, including but without limitation, letters, purchase orders,

          memoranda, telegrams, notes, catalogues, brochures, diaries, reports,



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          calendars, inter- or intra- office communications, depositions, answers to

          interrogatories, pleadings, judgments, newspaper articles, photographs, tape

          recordings, motion pictures and any carbon or photographic copies of any such

          material if you do not have custody or control of the original.

                    Electronically stored information. The term “electronically stored

                    information” means electronic information that is stored in a medium

                    from which it can be retrieved and examined. It includes, but is not

                    limited to, all electronic files that are electronically stored.

                    (1)       “Electronic file” includes, but is not limited to, the following:

                              voicemail messages and files; e-mail messages and files; deleted

                              files; temporary files; system-history files; Internet- or web-

                              browser-generated information stored in textual, graphical, or

                              audio format, including history files, caches, and cookies;

                              computer-activity logs; metadata. Unless otherwise defined, each

                              example used to illustrate the term “electronic file” will have the

                              meaning assigned to it by Microsoft Computer Dictionary (5th ed.

                              2002).

                    (2)       “Electronic information system” refers to a computer system or

                              network that contains electronic files and electronic storage.

                              Unless otherwise defined, each example used to illustrate the term

                              “electronic information system” will have the meaning assigned to

                              it by Microsoft Computer Dictionary (5th ed. 2002).




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                    (3)       “Electronic storage” refers to electronic files contained on

                              magnetic, optical, or other storage media, such as hard drives, flash

                              drives, DVDs, CDs, tapes, cartridges, floppy diskettes, smart cards,

                              integrated-circuit cards (e.g., SIM cards). Unless otherwise

                              defined, each example used to illustrate the term “electronic

                              storage” will have the meaning assigned to it by Microsoft

                              Computer Dictionary (5th ed. 2002).
          "
c.            You" and "Your" shall mean the party to whom these questions are directed, as

          well as agents, employees, attorneys, investigators and all other "persons"

          acting for said party.

d.        “Handle”, “handled”, “handling” and/or “worked on” – any person as defined

          above, that made a decision, investigated, adjusted, consulted, supervised,

          managed, settled, approved, provided information or otherwise performed a

          task relating to the claims mad the basis of this lawsuit, excluding persons

          performing purely ministerial or clerical tasks.

e.        “Policy” refers to the policy of insurance in effect on the date that the loss

          made the basis of this suit occurred.

f.        “Property” refers to the residence, dwelling, other structures, and personal

          property covered by the Policy, as defined above, made the basis of this suit.

g.        “Claim” or “Claim made the basis of this Suit” shall mean the claim filed by

          Plaintiff under Policy No. GP15310740561 for structural damage incurred as a

          result of a hail/wind storm damages hroughout the insured premises located at

          116 Ensenada Way Socorro, TX 79927, on or about October 6, 2015.



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h.        “Describe” and/or “Identify”, when referring to a document, is defined to

          require that you state the following:

                    1. The nature (e.g., letter, handwritten note) of the document;

                    2. The title or heading that appears on the document;

                    3. The date of the document and the date of each addendum,

                         supplement, or other addition or change;

                    4. The identity of the author and of the signer of the document, and of

                         the person on whose behalf or at whose request or direction the

                         document was prepared or delivered; and,

                    5.    The present location of the document, and the name, address,

                         position, or title, and telephone number of the person or persons

                         having custody of the document.

          19.4      If you object to identifying any person as hereinabove defined, or

producing any item requested, or you feel that a court order should be obtained by

this party, please so state in your answer to the interrogatory or response to a request

for production.

 ADDITIONAL INSTRUCTIONS REGARDING REQUEST FOR PRODUCTION

                     OF ELECTRONICALLY STORED INFORMATION

1.        Any documents that exist in electronic form are specifically requested to be

          produced in native or near-native formats, pursuant to Rule 196.4 of the Texas

          Rules of Civil Procedure and should not be converted to an imaged format (e.g.

          .PDF) unless such document must be redacted to remove privileged content or the




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          document does not exist in a native electronic format, in which case a privilege

          log is requested.

2.        Native format requires production in the same format in which the information

          was customarily created, used and stored by you. Examples of the native or near-

          native forms in which specific types of electronically stored information (ESI)

          should be produced are as follows for each ESI Source:

          a)        Microsoft Word documents - .DOC, .DOCX.

          b)        Microsoft Excel Spreadsheets - .XLS, .XLSX.

          c)        Microsoft PowerPoint Presentations - .PPT, .PPTX.

          d)        Microsoft Access Databases - .MDB.

          e)        WordPerfect documents - .WPD.

          f)        Adobe Acrobat Documents - .PDF.

          g)        Photographs - .JPG.

          h)        E-mail Messages - should be produced so as to preserve and supply the

                    source RFC 2822 content of the communication and attachments in a

                    fielded, electronically-searchable format.             For Microsoft Exchange or

                    Outlook messaging, .PST format will suffice. Single message production

                    formats like .MSG or .EML may be furnished, if source foldering data is

                    preserved and produced. If your workflow requires that attachments be

                    extracted       and     produced        separately   from   transmitting   messages,

                    attachments should be produced in their native forms with parent/child

                    relationships to the message and container(s) preserved and produced.




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                    i)        Databases (excluding e-mail systems) - Unless the entire contents

                    of a database are responsive, extract responsive content to a fielded and

                    electronically searchable format preserving keys and field relationships. If

                    doing so is infeasible, please identify the database and supply information

                    concerning the schemae and query language of the database, along with a

                    detailed description of its export capabilities, so as to facilitate Plaintiff

                    crafting a query to extract and export responsive data.

          3.        Examples of responsive forms of items set out in these instructions or in

                    any request should not be construed to limit the scope of the request(s).

          4.        Documents that do not exist in a native electronic format or which require

                    redaction of privileged content are hereby requested to be produced in

                    searchable .PDF format with logical unitization preserved.

          5.        Production should be made using a flash/thumb drive or a portable

                    external hard drive. If flash/thumb drives or portable external hard drive

                    are not available to Defendant, Plaintiff will provide to Defendant upon

                    request.

          6.        Documents produced should be Bates numbered by naming the file

                    produced to conform to the Bates number assigned to that file, supplying

                    the original file name data in the delimited load file described below.

                    .PDF production of documents that do not exist in a native electronic

                    format may be Bates numbered on each page in a manner that does not

                    obscure content by embossing the Bates number of the file followed by a




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                    dash and the page number. Respond to each request for documents by

                    listing the Bates numbers of responsive documents produced

7.        Production should include a delimited load file supplying relevant system

          metadata field values for each document by Bates number. The field values

          supplied should include (as applicable):

                    a. Source file name;

                    b. Source file path;

                    c. Last modified date;

                    d. Last modified time;

                    e. Custodian or source;

                    f. Document type;

                    g. MD5 hash value;

                    h. Redacted flag; and,

                    i. Hash de-duplicated instances (by full path).

8.        Documents should be vertically de-duplicated by custodian using each

          document’s hash value. Near-deduplication should not be employed so as to

          suppress different versions of a document, notations, comments, tracked changes

          or application metadata.

       REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                       INSURANCE COMPANY

1.        The following insurance documents issued for the Property as identified in the
          Petition:
              a. the policy at issue for the date of loss as identified in the Petition

          RESPONSE:




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2.        Produce underwriting files and documents relating to the underwriting for all
          insurance policies for the Property identified in the Petition. This request includes,
          but is not limited to all documents relating to any real property insurance claims
          made by Plaintiff. This request is limited to the past 5 years. To the extent
          Defendant contends that the underwriting file or documents older than 5 years
          impact the damages or coverage, produce that underwriting file or document.

          RESPONSE:

3.        All documents relating to the condition or damages of the Property or any
          insurance claim on the Property identified in the Petition.

          RESPONSE:

4.        Produce a copy of all price lists used to prepare any estimates for the claim made
          the basis of this Lawsuit. To the extent the pricelist is an unmodified pricelist
          from a third party, you can reference the vendor and version of the pricelist with a
          stipulation that it is unmodified. To the extent Defendant created or altered any
          prices used in the preparation of an estimate in the claim made the basis of this
          Lawsuit, produce all documents related to the creation or alteration of the price,
          including the original price for that item and the factual bases for the creation or
          alteration.

          RESPONSE:

5.        All documents reflecting the pre-anticipation of litigation reserve(s) set on the
          claim made the basis of this Lawsuit, including any changes to the reserve(s)
          along with any supporting documentation.

          RESPONSE:

6.        All organizational charts, diagrams, lists, and/or documents reflecting each
          department, division or section of Defendant’s company to which the claim made
          the basis of this Lawsuit was assigned.

          RESPONSE:

7.        All documents used to instruct, advise, guide, inform, educate, or assist provided
          to any person handling the claim made the basis of this Lawsuit that related to the
          adjustment of this type of claim, i.e., hail/wind storm property damage.

          RESPONSE:

8.        All contracts in effect at the time of Plaintiff’s claim between Defendant and any
          person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.



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          RESPONSE:

9.        Produce all documents showing amounts billed and paid to any engineer and/or
          engineering firm, third-party claims service, and/or independent adjuster who
          participated in the evaluation, assessment, and/or adjustment of the claim made
          subject of this suit. A summary is acceptable in lieu of actual invoices or
          payments.

          RESPONSE:

10.       A complete copy the personnel file related to performance (excluding medical and
          retirement information) for all people and their managers and/or supervisors who
          directly handled the claim made the basis of this Lawsuit, including all documents
          relating to applications for employment, former and current resumes, last known
          address, job title, job descriptions, reviews, evaluations, and all drafts or versions
          of requested documents. As part of said personnel files, this request includes
          documents relating to issues of honesty, criminal actions, past criminal record,
          criminal conduct, fraud investigation and/or inappropriate behavior which
          resulted in disciplinary action by Defendant of any person(s) or entity(ies) who
          handled the claim made the basis of this Lawsuit. This request is limited to the
          past 5 years.

          RESPONSE:

11.       All documents relating to work performance, claims patterns, claims problems,
          commendations, claims trends, claims recognitions, and/or concerns for any
          person who handled the claim made the basis of this Lawsuit, as well as all
          reports that include this claim specifically and the manner by which it was
          evaluated from the date of the hail/wind storm to the present.

          RESPONSE:

12.       Any email or document that transmits, discusses, or analyzes any report produced
          in response to Request for Production No. 11 above.

          RESPONSE:

13.       All confidentiality agreements and/or instructions regarding confidentiality in
          effect at the time of Plaintiff’s claim between Defendant and any person(s) and/or
          entity(ies) who the claim made the basis of the Lawsuit.

          RESPONSE:

14.       All documents between Defendant and any person(s) and/or entity(ies) who
          handled the claim made the basis of the Lawsuit regarding document retention
          policy in effect at the time of Plaintiff’s claim.


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          RESPONSE:

15.       Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing
          conviction of a crime which you intend to use as evidence to impeach any party or
          witness.

          RESPONSE:

                     WRITTEN INTERROGATORIES TO DEFENDANT
                               INSURANCE COMPANY

1.        Identify all persons, address, including job title, dates of employment, and a
          description of each individual’s role in the claim made the basis of this Lawsuit, if
          any, for all persons all persons and/or entities who handled the claim made the
          basis of the Lawsuit on behalf of Defendant, including those providing
          information for the answers to these interrogatories.

          ANSWER:

2.        State the following concerning notice of claim and timing of payment:
              a. The date and manner in which Defendant received notice of the claim;
                       i. If Defendant contends that Plaintiff failed to provide proper notice
                          of the claim made the basis of this suit under the Texas Insurance
                          Code, describe how the notice was deficient, identifying any
                          resulting prejudice caused to Defendant.
              b. The date and manner in which Defendant acknowledged receipt of the
                  claim;
              c. The date and manner in which Defendant commenced investigation of the
                  claim;
              d. The date and manner in which Defendant requested from the Plaintiff all
                  items, statements, and forms reasonably necessary that Defendant
                  reasonably believed, at the time, would be required from the Plaintiff;
              e. The date and manner in which Defendant notified the claimant(s) in
                  writing of the acceptance or rejection of the claim.
              f. To the extent Defendant felt it was applicable to this claim, did Defendant
                  request an additional 45 days to accept or reject the claim, and if so, for
                  what reason and state the date and manner in which Defendant made that
                  request.
              g. The date and manner in which you notified Plaintiff of acceptance or
                  rejection of coverage for all or any portion of Plaintiff’s claim; and
              h. The date and manner of all payments made to insured, identifying whether
                  payment was made under structure, additional structure, contents and/or
                  ALE provisions.
              i. The date(s) on while Defendant closed Plaintiff’s claim, if applicable.



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          ANSWER:

3.        Identify each inspection of the Property made the basis of this Lawsuit by:
             a. The name and job title of each person who inspected the Property;
             b. The date of each inspection;
             c. The purpose of each inspection; and
             d. Any documents generated during or as a result of each inspection,
                  including the persons and/or entities in possession of those documents.
             e. In the event that Defendant contends that Plaintiff ailed to exhibit/provide
                  access to the Property as reasonably requested by Defendant, and, if so,
                  describe how Plaintiff failed to do so, identifying any resulting prejudice
                  caused to Defendant.

          ANSWER:

4.        If Defendant is aware of documents that are not in Defendant’s possession that are
          related to the Claim and were gathered by a person or entity working on behalf of
          Defendant (directly or indirectly), identify the documents, including the persons
          and/or entities in possession of those documents with last known addresses.

          ANSWER:

5.        At the time the Claim made the basis of this Lawsuit was investigated by
          Defendant (and prior to the anticipation of litigation), describe Defendant’s
          understanding of areas of the property (i.e., interior) Defendant was investigating,
          identifying the coverage sections (i.e., dwelling, other structure, contents, and/or
          code upgrade) of the Policy upon which the claim was paid or denied or partially
          paid or denied in part.

          ANSWER:

6.        Does Defendant contend that at the time the claim made the basis of this Lawsuit
          was investigated by Defendant (and prior to anticipation of litigation), Plaintiff
          failed to protect the property from further damage or loss, make reasonable and
          necessary repairs or temporary repairs required to protect the Property as provided
          under the Policy?

          ANSWER:

7.        At the time the claim made the basis of this Lawsuit was investigated (and prior to
          anticipation of litigation), identify all documents and information requested from
          Plaintiff(s) stating the date and manner in which the request was made to Plaintiff.
          If Defendant contends that Plaintiff(s) failed to provide Defendant with requested
          documents and/or information, identify all requests Plaintiff did not respond and
          if Defendant denied any portion of the claim based on Plaintiff’s failure to
          respond.


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          ANSWER:

8.        At the time the claim made the basis of this Lawsuit was investigated (and prior to
          the anticipation of litigation), did Defendant request or take any statements and/or
          examinations under oath of Plaintiff(s) as provided under the policy. If so, state
          the date and manner in which Defendant made the request, the date on which any
          statements or examinations under oath were taken and the manner in which they
          were recorded or documented, identifying all persons who requested and/or took
          the statement or examination under oath. If Defendant contends that Plaintiff(s)
          failed to provide Defendant with a requested statement or examination, describe
          how Plaintiff failed to comply with any requests, to the extent it was relied upon
          to deny any portion of Plaintiff’s claim.

          ANSWER:

9.        Identify and state each and every basis, contention and reason why Defendant
          Insurance Company has not fully paid Plaintiff’s Claim, as they relate to why
          Defendant Insurance Company disputes the dollar amount of the Claim submitted
          to it by Plaintiff for the replacement of and/or costs to repair the property and all
          other losses and expenses submitted by Plaintiff to Defendant Insurance Company
          in connection with the hail/wind storm damage claim made the basis of this suit.

          ANSWER:

10.       Identify each item of damage, loss or expense of Plaintiff’s Claim that Defendant
          contends is not covered by the policy as well as all exclusions under the policy
          applied to the claim made the basis of this lawsuit, and for each exclusion
          identified, state the reason(s) that Defendant relied upon to apply that exclusion.

          ANSWER:

11.       State whether if any persons and/or entities who handled the claim made the basis
          this Lawsuit failed to follow any rules, guidelines, policies, or procedures
          implemented by Defendant for claims similar to Plaintiff’s Claim in regard to the
          adjustment of this claim. If so, identify each person and the specific rule,
          guideline, policy, or procedure that was violated.

          ANSWER:

12.       To the extent Defendant is aware, state whether the estimate(s) prepared for the
          claim made the basis of this lawsuit wrongly included or excluded any item or
          payment. If so, identify each item or payment and state whether it should have
          been included or excluded from the estimates prepared on the claim made the
          basis this Lawsuit.



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          ANSWER:

13.       To the extent Defendant is aware, state any violations of Texas Insurance Code
          Section 541 and/or 542 and/or any violations of the requirements or obligations
          owed to Plaintiff(s) under the Policy that were discovered by Defendant on this
          claim during the claims handling process.

          ANSWER:

14.       State the date Defendant first anticipated litigation.

          ANSWER:

15.       If you contend that the Plaintiff(s) made any misrepresentation regarding the
          Policy or the claim made the basis of this Lawsuit, state what specific
          misrepresentation(s) was/were made and the factual bases for your contention.

          ANSWER:




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                                                VERIFICATION

STATE OF ________________                                    §
                                                             §
EL PASO COUNTY                                               §

          BEFORE ME, the undersigned authority, on this day personally appeared

______________________________, on behalf of _____________________, its duly

authorized representative, known to me to be the person whose name is subscribed to the

foregoing instrument, who on his oath did state that the facts contained in the foregoing

Answers to Interrogatories are based upon his personal knowledge and are true and

correct.


                                                             _______________________________
                                                             AUTHORIZED REPRESENTATIVE
                                                             FOR DEFENDANT


          SUBSCRIBED AND SWORN TO before me, the undersigned authority, on this

the ______ day of __________________, 201___.



                                                             _________________________________
                                                             NOTARY PUBLIC in and for
                                                             The State of Texas
                                                             Commission expires: _____________




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                                                  XX. PRAYER

          20.1      WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon

trial hereof, said Plaintiff have and recover such sums as would reasonably and justly

compensate Plaintiff in accordance with the rules of law and procedure, as to actual

damages, treble damages under the Texas Insurance Code, and all punitive and

exemplary damages as may be found.                         In addition, Plaintiff requests the award of

attorney’s fees for the trial and any appeal of this case, for all costs of Court on her behalf

expended, for pre-judgment and post-judgment interest as allowed by law, and for any

other and further relief, either at law or in equity, to which she may show herself justly

entitled.

                                                             Respectfully submitted,

                                                             THE MOORE LAW FIRM
                                                             4900 North 10th Street, Suite F3
                                                             McAllen, Texas 78504
                                                             Telephone: (956) 631-0745
                                                             Telecopier: (888) 266-0971
                                                             Email: firstpartylit@moore-firm.com


                                                  By:        /s/ J. Michael Moore_____
                                                             J. MICHAEL MOORE
                                                             State Bar No. 14349550
                                                             ATTORNEY FOR PLAINTIFF




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El Paso County - 210th District Court                                                                   Filed 11/13/2017 12:49 PM
                                                                                                                  Norma Favela Barceleau
                                                                                                                             District Clerk
                                                                                                                          El Paso County
                                                                                                                           2017DCV3011
                                                     CAUSE NO. 2017-DCV-3011

              RAFAEL RODRIGUEZ                                      §                     IN THE DISTRICT COURT
                                                                    §
                       Plaintiff,                                   §
                                                                    §
                                                                    §
              v.                                                    §                   210TH JUDICIAL DISTRICT
                                                                    §
              GREAT LAKES REINSURANCE                               §
              (UK) PLC AND MARK                                     §
              VANDERKEIFT                                           §
                                                                    §
                       Defendants.                                  §                    EL PASO COUNTY, TEXAS

                        DEFENDANT’S ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES

                       Defendant Great Lakes Insurance SE (formerly known as Great Lakes Reinsurance

              (U.K.) Plc)1 (“Defendant”) files its original answer and affirmative defenses to Plaintiff Rafael

              Rodriguez's (“Plaintiff”) Original Petition (the “Petition”).

                                                     I.      GENERAL DENIAL

                       Defendant asserts its general denial as authorized by Rule 92 of the Texas Rules of Civil

              Procedure to the allegations contained in Plaintiff’s Petition, and any amendments or

              supplements thereto, and upon trial of this case will require Plaintiff to prove each and every

              allegation asserted against it by a preponderance of the evidence, as is required by the laws of

              this State of Texas and the Constitution of the United States.

                                               II.        AFFIRMATIVE DEFENSES

                       1.         Plaintiff’s claims are barred in whole or in part due to the terms, limitations,

              restrictions, exclusions, and endorsements contained in and to the Policy that forms the basis of

              Plaintiff’s suit.



              1
                Improperly named as “Great Lakes Reinsurance (U.K.) Plc” in Plaintiff’s Original Petition but appearing in its
              correct capacity herein.
              DEFENDANT’S ORIGINAL ANSWER                                                                         PAGE 1 OF 4
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                                                                                        EXHIBIT C-6
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         2.         Plaintiff’s claims against Defendant are barred under the doctrines of settlement

and release.

         3.         Plaintiff’s claims are barred by the equitable doctrine of waiver.

         4.         Plaintiff’s claims are barred by the election of rights doctrine.

         5.         Plaintiff’s claims are barred by the “one satisfaction” doctrine.

         6.         Plaintiff’s claims are barred by the economic loss rule.

         7.         Plaintiff’s claims are barred in whole or in part by accord and satisfaction.

         8.         Plaintiff’s claims are barred in whole or in part by setoff.

         9.         Plaintiff failed to mitigate or minimize its alleged damages.

         10.        Plaintiff’s claims are barred by the statute of frauds.

         11.        Plaintiff is not entitled to 18% statutory interest.

         12.        Defendant’s actions and omissions, if any, respecting the subject matters in the

alleged causes of action, and each of them, were undertaken in good faith, with the absence of

malicious intent to injure Plaintiff, and constitute lawful, proper, justified means to further the

business purposes of Defendant.

         13.        Plaintiff’s damages, if any, were proximately caused by the acts, omissions, or

breaches of other persons and entities, including Plaintiff, and said acts, omissions, or breaches

were intervening and superseding causes of Plaintiff’s damages, if any. Defendant asserts its

right to comparative responsibility as provided in Chapter 33 of the Texas Civil Practice and

Remedies Code and request that the fact finder apportion responsibility as provided in Chapter

33.

         14.        Defendant claims all offsets and credits available under Chapter 33 of the Texas

Civil Practice and Remedies Code.


DEFENDANT’S ORIGINAL ANSWER                                                                    PAGE 2 OF 4
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         15.        Any and all claims alleged by Plaintiff are barred, in whole or in part, to the

extent he seeks an improper punitive damages award for an alleged single wrong because such

an award would violate Defendant’s rights guaranteed by the United States Constitution,

including, without limitation, the Due Process and Equal Protection provisions of the Fourteenth

Amendment and the Double Jeopardy Clause of the Fifth Amendment of the United States

Constitution, and Defendant’s rights to the Due Course of Law under the Texas Constitution.

         16.        Plaintiff is not entitled to punitive damages, and any and all excessive amounts of

such damages sought herein violate Chapter 41 of the Texas Civil Practice and Remedies Code,

the Texas Constitution, and the United States Constitution, all of which set limits on the award of

punitive damages.

         17.        Any award of pre-judgment interest is limited by the dates and amounts as set

forth in Chapter 304 of the Texas Finance Code and/or Chapter 41 of the Texas Civil Practice &

Remedies Code.

         18.        Defendant reserves the right to later amend or add to these affirmative defenses.

                                             III.   PRAYER

         WHEREFORE, PREMISES CONSIDERED, Defendant Great Lakes Insurance SE

(formerly known as Defendant Great Lakes Reinsurance (U.K.) Plc) respectfully requests the

Court enter judgment that Plaintiff takes nothing in its suit, the Court enter an order dismissing

Plaintiff’s suit with prejudice, Defendant recover its costs and attorneys’ fees, and for all other

relief to which Defendant may be justly entitled.




DEFENDANT’S ORIGINAL ANSWER                                                                  PAGE 3 OF 4
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                                                     Respectfully submitted,

                                                By: /s/ Tiye T. Foley
                                                    Eddy De Los Santos
                                                    Texas Bar No. 24040790
                                                    Valerie Henderson
                                                    Texas Bar No. 24078655
                                                    Tiye Foley
                                                    Texas Bar No. 24088874
                                                    BAKER, DONELSON, BEARMAN,
                                                    CALDWELL & BERKOWITZ. P.C.
                                                    1301 McKinney Street
                                                     Suite 3700
                                                     Houston, Texas 77010
                                                     (713) 650-9700 - Telephone
                                                     (713) 650-9701 - Facsimile

                                                     Attorneys for Defendant Great Lakes
                                                     Insurance SE (formerly known as Great
                                                     Lakes Reinsurance (U.K.) Plc)


                                CERTIFICATE OF SERVICE

        I hereby certify that on November 13, 2017, a true and correct copy of the foregoing was
served on all counsel of record via facsimile and/or e-service pursuant to the Texas Rules of
Civil Procedure.

         THE MOORE LAW FIRM
         J. Michael Moore
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         Tel: (956) 631-0745
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         Email: firstpartylit@moore-firm.com

                                                /s/ Tiye T. Foley
                                                Tiye T. Foley




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